                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 TENNESSEE RIVERKEEPER, INC.,                   )
                                                )
         PLAINTIFF,                             )
                                                )
 v.                                             )   Case No. 3:23-cv-01369
                                                )
 CITY OF LEBANON, TENNESSEE,                    )   JURY TRIAL DEMANDED
                                                )
         Defendant,                             )
                                                )


                 SECOND JOINT CASE RESOLUTION STATUS REPORT


        Pursuant to the Court’s Order staying this case for 90 days (Doc. No. 31), Defendant, City

of Lebanon, Tennessee, and Plaintiff, Tennessee Riverkeeper, Inc. (collectively, the “Parties”),

jointly submit the following report regarding their good faith efforts to resolve this case:

        The Parties have scheduled mediation with Bob Martineau, former Tennessee Department

of Environment and Conservation Commissioner, for April 14, 2025. The Parties have reserved

April 22, 2025 with Mr. Martineau in case an additional mediation session is needed.

        In connection with the Parties’ efforts to resolve the case at mediation, on March 12, 2025,

the Parties, their environmental consultants, and their counsel conducted a second site visit at the

Lebanon Landfill and collected additional samples. The Parties and their environmental

consultants are in the process of reviewing and analyzing the samples taken at the March 12 visit

to facilitate mediation efforts.




  Case 3:23-cv-01369          Document 32       Filed 03/24/25      Page 1 of 3 PageID #: 165
                               Respectfully submitted,

                               /s/ Mark E. Martin (with permission)
                               Mark E. Martin
                               1706 Reid Road
                               P.O. Box 1486
                               Oneonta, AL 35121
                               P: 205.516.9350
                               mmartin@marketmartin.com

                               Andrea Taylor McKellar (BPR #19618)
                               MCKELLAR LAW GROUP, PLLC
                               117 28th Avenue North
                               Nashville, TN 37203
                               P: 615.866.9828
                               andie@mckellarlawgroup.com

                               Attorneys for Plaintiff Tennessee Riverkeeper, Inc.

                               /s/ Caroline D. Spore
                               Caroline D. Spore (BPR #036214)
                               BRADLEY ARANT BOULT CUMMINGS LLP
                               1221 Broadway, Suite 2400
                               Nashville, TN 37203
                               P: 615.252.3806
                               cspore@bradley.com
                               Attorney for Defendant City of Lebanon, Tennessee




Case 3:23-cv-01369   Document 32   Filed 03/24/25     Page 2 of 3 PageID #: 166
                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2025, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the below:

       Mark E. Martin
       1706 Reid Road
       P.O. Box 1486
       Oneonta, AL 35121
       mmartin@marketmartin.com

       Andrea Taylor McKellar
       117 28th Avenue North
       Nashville, TN 37203
       andie@mckellarlawgroup.com

       Attorneys for Plaintiff Tennessee
       Riverkeeper, Inc.

                                             /s/ Caroline D. Spore
                                             Caroline D. Spore




  Case 3:23-cv-01369        Document 32       Filed 03/24/25      Page 3 of 3 PageID #: 167
